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   From: Tim
   From:    Tim Sweeney
                 Sweeney                @epicgames.com>
                                        @epicgames.com>
   Sent:
   Sent:    Mon,  11 May  2020 18:01:10 +0000 (UTC)
            Mon, 11 May 2020 18:01:10 +0000     (UTC)
   To:
   To:      Mark  Rein
            Mark Rein            nepicgames.com>
                                 n@epicgames.com>
   Cc:
   Cc:      Daniel Vogel
            Daniel Vogel              lepicgames. com>; Ed
                                      l@epicgames.com>;      Ed Zobrist
                                                                Zobri st                                         t@epicgames.com>;
                                                                                                                 t@epicgames.com>;
            Adam   Sussman
            Adam Sussman                   @epicgames.com>;
                                           @epicgames.com>; CanonCanon Pence
                                                                         Pence
                          epicgames.com>; Matt
                          @epicgames.com>;   Matt Wei
                                                   Wei ssinger
                                                        ssinger                                                r@epicgames.com>; Nick
                                                                                                               r@epicgames.com>; Nick
            Chester
            Chester              repicgames.com>
                                 r@epicgames.com>
   Subject: Re:
   Subject: Re: Apple
                Apple //Google
                        Google approach
                               approach (attorney
                                         (attorney client
                                                   client privilege)
                                                          privilege)



  That's the
  That's  the nuclear
              nuclear scenario.
                       scenario. Yes,
                                 Yes, Apple
                                       Apple or
                                              or Google
                                                 Google can
                                                          can do
                                                              do that,
                                                                  that, and
                                                                        and if
                                                                             if they
                                                                                they do
                                                                                     do that.
                                                                                        that. If
                                                                                              If they
                                                                                                 they do,
                                                                                                      do, it
                                                                                                          it will trigger Epic
                                                                                                             will trigger Epic
  filing injunctions
  filing injunctions in
                      in numerous
                         numerous jurisdictions
                                    jurisdictions to
                                                  to stop
                                                     stop them,
                                                           them, and
                                                                  and creates
                                                                       creates aaVERY
                                                                                  VERY precarious
                                                                                          precarious situation
                                                                                                      situation for
                                                                                                                 for them
                                                                                                                     them
  where   they could
  where they   could be
                      be forced
                          forced to
                                 to abandon
                                    abandon their
                                             their policy
                                                   policy in
                                                           in some
                                                              some geographies.
                                                                     geographies.
  Let's have
  Let's have this
              this as
                   as a
                      agroup
                        group brainstorming
                               brainstorming session,
                                               session, and
                                                        and not
                                                             not scatter
                                                                 scatter the
                                                                          the discussion
                                                                              discussion among
                                                                                           among numerous
                                                                                                   numerous emails.
                                                                                                               emails.

  -Tim
  -Tim

  On Mon,
  On Mon, May
          May 11,
              11, 2020
                  2020 at
                       at 1:47
                          1:47 PM
                               PM Mark Rein
                                  Mark Rein                                         @epicgames.com> wrote:
                                                                                    @epicgames.com> wrote:

       We should
       We   should also,
                   also, especially
                         especially after
                                    after what happened this
                                          what happened  this weekend
                                                              weekend with  Houseparty, realize
                                                                       with Houseparty,  realize that
                                                                                                 that there's
                                                                                                      there's a
                                                                                                              abetter
                                                                                                                better than
                                                                                                                       than 50%
                                                                                                                            50% chance
                                                                                                                                 chance Apple
                                                                                                                                        Apple and
                                                                                                                                              and Google
                                                                                                                                                  Google
       will immediately remove
       will immediately   remove the  games from
                                  the games  from their stores the
                                                  their stores     minute we
                                                               the minute    do this.
                                                                          we do       They may
                                                                                this. They may also
                                                                                                 also sue
                                                                                                       sue us to make
                                                                                                           us to make anan example.
                                                                                                                           example.


  Do we
  Do    know if
     we know  if they
                 they can
                      can invalidate
                          invalidate our
                                     our apps
                                         apps in
                                               in a
                                                  away  that makes
                                                    way that makes them
                                                                   them inoperative
                                                                          inoperative on
                                                                                      on devices
                                                                                         devices that
                                                                                                 that have
                                                                                                      have them
                                                                                                           them installed?
                                                                                                                 installed? Do
                                                                                                                            Do our
                                                                                                                                our apps
                                                                                                                                    apps possibly use
                                                                                                                                         possibly use
    APIs they
    APIs they can
              can use
                   use to
                       to make
                          make them
                                them inoperative?
                                      inoperative? Are  there any
                                                    Are there any sort
                                                                  sort of
                                                                       of backdoor
                                                                          backdoor things
                                                                                    things they
                                                                                           they can
                                                                                                can turn
                                                                                                    turn on
                                                                                                         on that
                                                                                                            that make
                                                                                                                 make the
                                                                                                                       the apps
                                                                                                                           apps unworkable?
                                                                                                                                unworkable?




  On Mon,
  On Mon, May 11, 2020
          May 11, 2020 at
                       at 1:42
                          1:42 PM
                               PM Daniel
                                  Daniel Vogel
                                         Vogel                                             l@epicgames.com>
                                                                                           l@epicgames.com> wrote:
                                                                                                            wrote:

        My gut
        My  gut feeling
                feeling is
                         is that
                            that a
                                 abrief
                                   brief brainstorming
                                         brainstorming meeting
                                                        meeting with    this group
                                                                 with this   group to
                                                                                    to align
                                                                                       align us
                                                                                             us all
                                                                                                all is
                                                                                                    is going
                                                                                                       going to
                                                                                                              to be
                                                                                                                 be
        more  fruitful than  going  over  formed plans. I don't think  people  are going  to have   enough
        more fruitful than going over formed plans. I don't think people are going to have enough time to    time  to really
                                                                                                                      really
        think things
        think things through
                      through byby Wednesday.
                                   Wednesday. TheThe worst  meeting is
                                                     worst meeting    is a
                                                                         ameeting
                                                                           meeting with   partial plans
                                                                                     with partial plans that
                                                                                                         that people
                                                                                                               people didn't
                                                                                                                       didn't
        have enough
        have  enough time
                       time to
                             to think
                                think through
                                      through but
                                              but have
                                                   have invested
                                                        invested enough
                                                                  enough time
                                                                            time in
                                                                                 in presentation
                                                                                     presentation //slides
                                                                                                     slides to
                                                                                                            to defend
                                                                                                                defend them
                                                                                                                        them :-)
        My $0.02
        My  $0.02

     Daniel, Epic
  -- Daniel,
  --         Epic Games
                  Games Inc.
                        Inc.



  On Mon,
  On Mon, May 11, 2020
          May 11, 2020 at
                       at 1:09
                          1:09 PM
                               PM Ed
                                  Ed Zobrist
                                     Zobrist                                        t@epicgames.com> wrote:
                                                                                    t@epicgames.com> wrote:

      Hey Tim,
      Hey   Tim,
  Sorry, I should have been
  Sorry, I should have been more
                             more clear.
                                  clear. I'm
                                         I'm repurposing
                                             repurposing the
                                                          the Wed
                                                              Wed 11:30
                                                                    11:30 meeting
                                                                          meeting currently
                                                                                  currently on
                                                                                            on your calendar and
                                                                                               your calendar and
      we'll present you
      we'll present you with Legal, Comms
                        with Legal, Comms andand Strategy
                                                 Strategy materials.
                                                           materials.
  Ed
  Ed
                                                                                                                                              Exhibit
  On Mon,
     Mon, May
          May 11,
              11, 2020
                  2020 at
                       at 12:44
                          12:44 PM
                                PM Tim
                                   Tim Sweeney
                                       Sweeney                                                (epicgames.com> wrote:
                                                                                                                                             DX 0684
  On                                                                                          @epicgames.com> wrote:                EXHIBIT 10684
           Hi Ed,
          Hi  Ed,
          IIdon't
            don't seem
                  seem to
                        to be
                           be invited
                               invited to
                                       to a
                                          aWednesday
                                            Wednesday meeting.
                                                        meeting. Please
                                                                  Please add
                                                                          add me
                                                                              me to
                                                                                  to all
                                                                                     all meetings
                                                                                         meetings onon the
                                                                                                        the topic.
                                                                                                             topic. Please
                                                                                                                    Please
           keep me
          keep  me in
                    in the
                       the loop
                           loop on
                                 on this
                                    this topic
                                         topic 100%.
                                               100%. Please
                                                      Please feel
                                                             feel free
                                                                  free to
                                                                       to come
                                                                          come to
                                                                                to me
                                                                                   me directly
                                                                                        directly in
                                                                                                 in email
                                                                                                    email oror otherwise
                                                                                                               otherwise
           anytime to
           anytime  to get
                       get clarification
                           clarification on
                                         on anything.Otherwise
                                            anything. Otherwise it
                                                                 it heads
                                                                    heads off
                                                                          off the
                                                                              the rails
                                                                                  rails and
                                                                                        and IIhave
                                                                                              have toto fix
                                                                                                        fix it
                                                                                                            it and
                                                                                                               and undo
                                                                                                                    undo a
                                                                                                                         a
           bunch of
           bunch  of work.
                     work.
           -Tim
          -Tim



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                                      ONLY                                                                                     EPIC_GOOGLE_00357476
                                                                                                                               EPIC_GOOGLE_00357476

                                                                                                                                EXHIBIT 10684-001
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  On Mon,
  On Mon, May 11, 2020
          May 11, 2020 at
                       at 12:03
                          12:03 PM
                                PM Ed
                                   Ed Zobrist
                                      Zobrist                            t@epicgames.com> wrote:
                                                                         t@epicgames.com> wrote:

       Daniel and
       Daniel    and IIdiscussed
                       discussed this
                                 this an
                                      an hour  ago and
                                         hour ago  and IIcompletely
                                                          completely agree.
                                                                       agree. IIthink
                                                                                 think this
                                                                                        this means
                                                                                             means taking
                                                                                                    taking a
                                                                                                           afew
                                                                                                             few days
                                                                                                                   days to
                                                                                                                        to
       fully explore
       fully  explore legal/comm
                       legal/comm implications,
                                    implications, and
                                                   and I'd
                                                        I'd add
                                                            add strategic
                                                                strategic as
                                                                          as well.   Then we'll
                                                                              well. Then          follow up
                                                                                            we'll follow up with
                                                                                                             with aabroader
                                                                                                                     broader
       executional plan
       executional    plan next
                           next week.  Unless there
                                week. Unless   there is
                                                     is a
                                                        adisagreement,
                                                          disagreement, I'll
                                                                          I'll reset
                                                                               reset the
                                                                                     the Wed
                                                                                          Wed meeting
                                                                                               meeting to
                                                                                                        to a
                                                                                                           asmaller
                                                                                                             smaller group,
                                                                                                                      group,
       and I'll
       and  I'll coordinate
                 coordinate with  leaders of
                             with leaders of these
                                             these three
                                                   three areas
                                                          areas to
                                                                to bring
                                                                   bring materials
                                                                          materials for
                                                                                      for a
                                                                                          adeep
                                                                                            deep discussion
                                                                                                  discussion of
                                                                                                              of the
                                                                                                                 the options
                                                                                                                     options
       and outcomes.
       and  outcomes.
       Ed
       Ed


  On Mon,
  On Mon, May
          May 11,
              11, 2020
                  2020 at
                       at 11:25
                          11:25 AM
                                AM Daniel
                                   Daniel Vogel
                                          Vogel                                 l@epicgames.com> wrote:
                                                                                l@epicgames.com> wrote:

        Making sure
        Making     sure we    are all
                         we are    all in
                                        in alignment
                                           alignment on     on approach
                                                                 approach and and what
                                                                                    what toto focus
                                                                                              focus ourour limited
                                                                                                            limited mindshare
                                                                                                                       mindshare on.on.
        There are
        There    are aa myriad
                         myriad ofof edge
                                      edge cases
                                               cases to   to solve
                                                             solve like
                                                                      like impact
                                                                           impact onon SAC,
                                                                                         SAC, POSA
                                                                                                POSA cards,
                                                                                                          cards, etc,
                                                                                                                    etc, but
                                                                                                                          but the
                                                                                                                               the
        critical dependency
        critical  dependency on    on going
                                        going live
                                                 live with     our VBUCKS
                                                        with our    VBUCKS price price reduction
                                                                                         reduction efforts
                                                                                                      efforts isis finding
                                                                                                                   finding the
                                                                                                                             the most
                                                                                                                                  most
        effective way
        effective   way toto get
                              get Apple
                                   Apple andand Google
                                                    Google to   to reconsider
                                                                   reconsider without
                                                                                  without usus looking
                                                                                                looking like
                                                                                                           like the
                                                                                                                 the baddies.
                                                                                                                       baddies.
        Here is
        Here   is my
                   my understanding
                       understanding of     of the
                                                the plan:
                                                      plan:
        We submit
        We   submit a  a build
                          build to
                                 to Google
                                     Google and  and Apple
                                                        Apple with      the ability
                                                                 with the    ability to
                                                                                     to hotfix
                                                                                         hotfix on
                                                                                                on our
                                                                                                    our payment
                                                                                                          payment methodmethod that
                                                                                                                                  that
        passes the
        passes     the savings
                       savings on  on to
                                       to customers.
                                           customers.
        We flip
        We   flip the
                  the switch
                       switch when
                                when we       know we
                                         we know             can get
                                                         we can     get by
                                                                         by without    having to
                                                                             without having     to update
                                                                                                    update thethe client
                                                                                                                     client for
                                                                                                                            for 33
        weeks
        weeks or  or so.
                     so.
        Our messaging
        Our   messaging is   is about
                                about passing
                                          passing on   on price
                                                            price savings
                                                                    savings to to players.
                                                                                  players.
        Google and
        Google     and Apple
                        Apple will     immediately pull
                                 will immediately          pull the
                                                                 the build
                                                                      build for
                                                                             for new
                                                                                 new players
                                                                                        players and
                                                                                                  and potentially
                                                                                                        potentially taketake an
                                                                                                                              an even
                                                                                                                                  even
        more aggressive
        more    aggressive stance.
                               stance.
        What comes
        What    comes nextnext is
                                is less
                                    less well    defined and
                                          well defined        and IMOIMO should
                                                                           should be be our
                                                                                         our focus.
                                                                                              focus. What
                                                                                                       What is is our
                                                                                                                   our detailed
                                                                                                                        detailed
        communication and
        communication        and legal
                                   legal plan
                                           plan at at that
                                                       that time?
                                                              time?
        What is
        What    is our
                   our approach
                        approach when when FN  FN goes
                                                     goes offline
                                                              offline on
                                                                       on mobile
                                                                           mobile devices
                                                                                     devices duedue toto lack
                                                                                                         lack ofof ability
                                                                                                                    ability to
                                                                                                                            to update.
                                                                                                                                update.
        How do
        How    do we    not look
                   we not    look like
                                    like the
                                         the bad
                                               bad guys
                                                      guys and and what
                                                                     what isis our
                                                                               our strategy
                                                                                    strategy toto counter
                                                                                                   counter Apple
                                                                                                              Apple and and Google's
                                                                                                                              Google's
        lobbying as
        lobbying    as IIassume
                          assume that that will
                                            will bebe inin overdrive
                                                           overdrive as  as they
                                                                             they will   treat this
                                                                                   will treat  this as
                                                                                                     as an
                                                                                                         an existential
                                                                                                             existential threat.
                                                                                                                             threat. Etc.
                                                                                                                                     Etc.
        Development and
        Development        and other
                                other work
                                         work is  is all
                                                     all proceeding,
                                                          proceeding, II     just don't
                                                                            just  don't want
                                                                                          want toto dilute
                                                                                                    dilute our
                                                                                                            our time
                                                                                                                   time with    updates
                                                                                                                         with updates
        on the
        on  the execution
                 execution front
                               front and
                                       and focus
                                             focus it  it entirely
                                                          entirely onon the
                                                                         the big   elephant in
                                                                              big elephant     in the
                                                                                                  the room
                                                                                                        room in in the
                                                                                                                    the next
                                                                                                                         next week
                                                                                                                               week oror
        two.
        two.
        Any disagreement
        Any   disagreement on    on this?
                                      this? IfIf no,
                                                 no, IIwould       suggest there
                                                          would suggest       there toto be
                                                                                          be small
                                                                                             small and
                                                                                                     and short
                                                                                                           short brainstorming
                                                                                                                    brainstorming
        sessions on
        sessions     on communication
                         communication and      and legal
                                                       legal approach.
                                                               approach.
           Daniel, Epic
        -- Daniel,
         --         Epic Games
                           Games Inc.
                                    Inc.




  Head of
  Head  of Publishing
           Publishing
  Epic Games
  Epic Games
                  cell
                  cell




  Head of
  Head  of Publishing
           Publishing
  Epic Games
  Epic Games
                  cell
                  cell




  Mark Rein,
  Mark  Rein,
  Epic Games,
  Epic Games, Inc.
              Inc.




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                                      ONLY                                                                     EPIc_GOOGLE_00357477
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                                      ONLY                                EPIC_GOOGLE_00357478
                                                                          EPIC_GOOGLE_00357478

                                                                           EXHIBIT 10684-003
